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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                DEBORAH J. BRADEN


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                      143,515                 142,370           142,370
                  2023                        8,707                   8,450           150,820
                  2024                        8,355                   7,931           158,751
                  2025                        8,577                   7,964           166,714
                  2026                        8,804                   7,997           174,711
                  2027                        9,039                   8,030           182,741
                  2028                        9,279                   8,064           190,806
                  2029                        9,527                   8,099           198,904
                  2030                        9,793                   8,144           207,048
                  2031                        8,789                   7,149           214,197
                  2032                        8,868                   7,056           221,254
                  2033                        9,091                   7,076           228,330
                  2034                        9,320                   7,096           235,426
                  2035                        9,555                   7,116           242,542
                  2036                        9,796                   7,136           249,678
                  2037                       10,043                   7,157           256,835
                  2038                       10,296                   7,177           264,012
                  2039                       10,556                   7,198           271,210
                  2040                       10,823                   7,219           278,429
                  2041                       11,097                   7,240           285,668
                  2042                       11,377                   7,261           292,929
                  2043                       11,345                   7,082           300,011
                  2044                       11,599                   7,083           307,094
                  2045                        1,173                     701           307,795
                           Total = $        359,326    $            307,795




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                                  ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                              Z    Z


                             Inflation-Adjusted       Present Value        Cumulative
                  Year              Costs         (Discounted at 2.23%)   Present Value
                  2022                  39,551                  39,235            39,235
                  2023                  16,855                  16,356            55,592
                  2024                  15,677                  14,881            70,472
                  2025                  16,065                  14,916            85,388
                  2026                  12,833                  11,655            97,044
                  2027                   7,877                   6,998           104,042
                  2028                   8,070                   7,013           111,055
                  2029                  24,159                  20,538           131,593
                  2030                  35,958                  29,901           161,494
                  2031                  17,437                  14,184           175,678
                  2032                  17,584                  13,991           189,669
                  2033                  18,060                  14,057           203,726
                  2034                  17,533                  13,349           217,075
                  2035                  16,534                  12,314           229,389
                  2036                  16,990                  12,377           241,765
                  2037                  17,458                  12,441           254,206
                  2038                  17,940                  12,505           266,711
                  2039                  18,117                  12,353           279,064
                  2040                  18,150                  12,105           291,170
                  2041                  18,806                  12,270           303,439
                  2042                  19,557                  12,481           315,921
                  2043                  20,101                  12,548           328,469
                  2044                  20,660                  12,616           341,086
                  2045                  21,236                  12,685           353,771
                  2046                  21,647                  12,648           366,419
                  2047                  21,985                  12,566           378,985
                  2048                  22,600                  12,635           391,620
                  2049                  23,234                  12,706           404,327
                  2050                  23,886                  12,779           417,105
                  2051                  48,551                  25,407           442,512
                  2052                  62,817                  32,155           474,667
                  2053                  29,019                  14,530           489,197
                  2054                  29,612                  14,504           503,701
                  2055                  30,114                  14,428           518,129
                  2056                  30,984                  14,521           532,650
                  2057                  31,885                  14,617           547,267
                  2058                  32,800                  14,709           561,976
                  2059                  33,446                  14,671           576,647
                  2060                  33,975                  14,578           591,225




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                   Z    Z
                                                    (continued)

                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2061                       40,443                  16,975            608,200
                  2062                       49,741                  20,422            628,623
                  2063                       51,217                  20,570            649,192
                  2064                       52,740                  20,719            669,912
                  2065                       54,311                  20,871            690,782
                  2066                       88,791                  33,377            724,159
                  2067                      139,576                  51,323            775,481
                  2068                      143,257                  51,527            827,008
                  2069                      147,038                  51,733            878,741
                  2070                      150,923                  51,942            930,683
                  2071                    1,377,179                 463,632          1,394,315
                  2072                    2,013,058                 662,920          2,057,235
                  2073                      163,853                  52,781          2,110,016
                  2074                      168,197                  52,999          2,163,015
                  2075                      172,661                  53,219          2,216,234
                  2076                      227,627                  68,630          2,284,864
                  2077                      307,629                  90,728          2,375,592
                  2078                      315,631                  91,057          2,466,649
                  2079                      323,848                  91,390          2,558,039
                  2080                      332,285                  91,725          2,649,764
                  2081                      340,949                  92,064          2,741,828
                  2082                      349,846                  92,406          2,834,234
                  2083                      358,983                  92,751          2,926,984
                  2084                      368,367                  93,099          3,020,083
                  2085                      378,004                  93,451          3,113,534
                  2086                      515,198                 124,590          3,238,124
                  2087                      717,765                 169,790          3,407,913
                  2088                      736,238                 170,361          3,578,274
                  2089                      755,197                 170,936          3,749,210
                  2090                      774,656                 171,515          3,920,725
                  2091                      794,628                 172,099          4,092,825
                  2092                      815,127                 172,688          4,265,513
                  2093                      490,246                 101,595          4,367,108
                           Total = $     14,644,971    $          4,367,108




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                   LOST EARNING CAPACITY
                          Z      Z


                     Projected           Present
                      Future              Value     Cumulative
                     Wages &          (Discounted    Present
   Year   Age        Benefits           at 2.23%)     Value

   2017      6                   0              0            0
   2018      7                   0              0            0
   2019      8                   0              0            0
   2020      9                   0              0            0
   2021     10                   0              0            0
            Past Earning Capacity =             0

   2022     11                0                 0            0
   2023     12                0                 0            0
   2024     13                0                 0            0
   2025     14                0                 0            0
   2026     15                0                 0            0
   2027     16                0                 0            0
   2028     17                0                 0            0
   2029     18                0                 0            0
   2030     19                0                 0            0
   2031     20                0                 0            0
   2032     21                0                 0            0
   2033     22           15,023            11,657       11,657
   2034     23           33,100            25,123       36,780
   2035     24           36,440            27,055       63,835
   2036     25           39,983            29,038       92,872
   2037     26           43,726            31,064      123,936
   2038     27           47,660            33,120      157,056
   2039     28           51,781            35,198      192,254
   2040     29           56,085            37,292      229,546
   2041     30           60,378            39,271      268,818
   2042     31           64,676            41,149      309,966
   2043     32           69,116            43,015      352,981
   2044     33           73,686            44,859      397,840
   2045     34           78,377            46,673      444,513
   2046     35           83,173            48,449      492,963
   2047     36           88,066            50,180      543,143
   2048     37           93,047            51,862      595,005
   2049     38           98,102            53,487      648,491
   2050     39          103,217            55,048      703,540




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                    LOST EARNING CAPACITY

                           Z    Z
                            (continued)

                      Projected           Present
                       Future              Value       Cumulative
                      Wages &          (Discounted      Present
   Year   Age         Benefits           at 2.23%)       Value
   2051     40           107,744             56,209        759,748
   2052     41           112,230             57,272        817,020
   2053     42           116,665             58,236        875,257
   2054     43           121,035             59,100        934,357
   2055     44           125,330             59,862        994,219
   2056     45           129,540             60,523      1,054,743
   2057     46           133,655             61,084      1,115,826
   2058     47           137,665             61,544      1,177,371
   2059     48           141,565             61,907      1,239,278
   2060     49           145,346             62,174      1,301,452
   2061     50           149,001             62,347      1,363,799
   2062     51           152,526             62,430      1,426,230
   2063     52           155,916             62,425      1,488,655
   2064     53           159,166             62,337      1,550,992
   2065     54           162,273             62,167      1,613,159
   2066     55           165,232             61,920      1,675,079
   2067     56           168,043             61,600      1,736,679
   2068     57           170,703             61,210      1,797,888
   2069     58           173,209             60,754      1,858,642
   2070     59           175,561             60,235      1,918,877
   2071     60           177,757             59,658      1,978,536
   2072     61           179,795             59,026      2,037,562
   2073     62           181,675             58,342      2,095,904
   2074     63           183,396             57,610      2,153,514
   2075     64           184,959             56,834      2,210,348
   2076     65           187,776             56,441      2,266,789
   2077     66           189,054             55,585      2,322,374
   2078     67           110,978             31,918      2,354,292
           Future Earning Capacity =      2,354,292

             Past Earning Capacity =              0
           Future Earning Capacity =      2,354,292
           Total Earning Capacity =        2,354,292
                 Loss Percentage =              65%
      Total Lost Earning Capacity =       1,530,290




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                          LOSS OF ESTATE
                           KEITH BRADEN


                                      Present
                   Projected           Value     Cumulative
                   Wages &         (Discounted    Present
        Year       Benefits          at 2.23%)     Value
         2017          2,738             2,738        2,738
         2018         22,958            22,958       25,696
         2019         23,338            23,338       49,034
         2020         23,645            23,645       72,679
         2021         23,778            23,778       96,457
         2022          2,875             2,875       99,332
           Past Loss of Estate =        99,332

           Past Loss of Estate =        99,332
         Future Loss of Estate =             0
         Total Loss of Estate =         99,332




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                  FARIDA BROWN


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                       35,031                  34,751            34,751
                  2023                       13,008                  12,623            47,374
                  2024                       40,634                  38,571            85,945
                  2025                       42,100                  39,090           125,036
                  2026                       43,221                  39,256           164,292
                  2027                       42,675                  37,915           202,206
                  2028                       43,765                  38,035           240,241
                  2029                       44,914                  38,181           278,423
                  2030                       46,093                  38,329           316,752
                  2031                       47,304                  38,478           355,230
                  2032                       11,347                   9,028           364,258
                  2033                          181                     141           364,399
                           Total = $        410,273    $            364,399




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                           LOSS OF ESTATE
                    ROBERT & SHANI CORRIGAN


                                       Present
                    Projected           Value      Cumulative
                    Wages &         (Discounted     Present
        Year        Benefits          at 2.23%)      Value
         2017           5,052             5,052         5,052
         2018          33,033            33,033        38,085
         2019          34,270            34,270        72,355
         2020          35,367            35,367       107,722
         2021          36,667            36,667       144,389
               Past Estate Loss =       144,389

         2022          37,494            37,080       181,469
         2023          38,256            37,009       218,478
         2024          38,954            36,862       255,341
         2025          39,585            36,642       291,983
         2026          40,140            36,345       328,328
         2027          40,607            35,966       364,294
         2028          40,972            35,498       399,792
         2029          41,221            34,934       434,726
         2030          41,335            34,267       468,994
         2031          41,695            33,811       502,805
         2032          41,509            32,926       535,731
         2033          16,398            12,724       548,455

      Retirement:
          2033           (118)              (92)      548,364
          2034           (568)             (431)      547,933
          2035           (582)             (432)      547,501
          2036           (597)             (433)      547,068
          2037           (613)             (435)      546,632
          2038           (630)             (438)      546,195
          2039           (646)             (439)      545,755
          2040           (664)             (442)      545,313
          2041           (684)             (445)      544,869
          2042           (704)             (448)      544,421
          2043           (723)             (450)      543,971
          2044           (745)             (453)      543,517
          2045           (766)             (456)      543,061
          2046        (33,798)          (19,688)      523,373
          2047        (59,875)          (34,117)      489,257
          2048        (61,677)          (34,377)      454,879




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                          LOSS OF ESTATE
                   ROBERT & SHANI CORRIGAN
                          (continued)


                                      Present
                   Projected           Value      Cumulative
                   Wages &         (Discounted     Present
        Year       Benefits          at 2.23%)      Value
         2049        (63,547)          (34,647)      420,233
         2050        (25,297)          (13,491)      406,741
            Future Estate Loss =       262,352

              Past Estate Loss =       144,389
            Future Estate Loss =       262,352
            Total Estate Loss =        406,741




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                DALIA LOOKINGBILL


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                          408                    405                405
                  2023                          528                    512                917
                  2024                          541                    514              1,430
                  2025                          555                    515              1,945
                  2026                          569                    517              2,462
                  2027                          583                    518              2,980
                  2028                          598                    520              3,500
                  2029                          614                    522              4,022
                  2030                          629                    523              4,545
                  2031                          645                    525              5,070
                  2032                          662                    527              5,597
                  2033                          679                    528              6,125
                  2034                          696                    530              6,655
                  2035                          714                    532              7,187
                  2036                          732                    533              7,720
                  2037                          751                    535              8,255
                  2038                          770                    537              8,791
                  2039                          789                    538              9,329
                  2040                          810                    540              9,869
                  2041                          830                    542             10,411
                  2042                          851                    543             10,954
                  2043                          873                    545             11,499
                  2044                          630                    385             11,884
                           Total = $         15,457    $             11,884




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                                 ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                           R        T


                            Inflation-Adjusted       Present Value        Cumulative
                  Year             Costs         (Discounted at 2.23%)   Present Value
                  2022                    834                    828                828
                  2023                  1,000                    971              1,799
                  2024                  1,029                    977              2,775
                  2025                  1,058                    982              3,757
                  2026                    940                    854              4,611
                  2027                    475                    422              5,033
                  2028                    490                    426              5,459
                  2029                    521                    443              5,902
                  2030                    589                    490              6,392
                  2031                    607                    494              6,886
                  2032                    625                    497              7,383
                  2033                    643                    501              7,884
                  2034                    663                    504              8,389
                  2035                    682                    508              8,897
                  2036                    703                    512              9,409
                  2037                    724                    516              9,925
                  2038                    745                    520             10,444
                  2039                    768                    523             10,968
                  2040                    791                    527             11,495
                  2041                    814                    531             12,026
                  2042                    839                    535             12,562
                  2043                    864                    540             13,101
                  2044                    890                    544             13,645
                  2045                    917                    548             14,193
                  2046                    945                    552             14,745
                  2047                    974                    556             15,302
                  2048                  1,003                    561             15,863
                  2049                  1,034                    565             16,428
                  2050                  1,065                    570             16,998
                  2051                    891                    466             17,464
                  2052                    225                    115             17,579
                  2053                    231                    116             17,695
                  2054                    236                    116             17,810
                  2055                    242                    116             17,926
                  2056                    248                    116             18,043
                  2057                    254                    116             18,159
                  2058                    260                    117             18,276
                  2059                    245                    108             18,383
                  2060                    183                     78             18,462




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                 R        T
                                                    (continued)

                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2061                          189                     79             18,541
                  2062                          195                     80             18,621
                  2063                          201                     81             18,702
                  2064                          208                     82             18,783
                  2065                          214                     82             18,866
                  2066                          221                     83             18,949
                  2067                          228                     84             19,033
                  2068                          236                     85             19,117
                  2069                          243                     86             19,203
                  2070                          251                     86             19,289
                  2071                          259                     87             19,376
                  2072                          267                     88             19,464
                  2073                          276                     89             19,553
                  2074                          285                     90             19,643
                  2075                          294                     91             19,734
                  2076                          303                     91             19,825
                  2077                          313                     92             19,918
                  2078                          323                     93             20,011
                  2079                          334                     94             20,105
                  2080                          344                     95             20,200
                  2081                          355                     96             20,296
                  2082                          367                     97             20,393
                  2083                          379                     98             20,491
                  2084                          391                     99             20,589
                  2085                          403                    100             20,689
                  2086                          416                    101             20,790
                  2087                          430                    102             20,891
                  2088                          444                    103             20,994
                  2089                          458                    104             21,098
                  2090                          472                    105             21,202
                  2091                          488                    106             21,308
                  2092                          503                    107             21,415
                  2093                          397                     82             21,497
                           Total = $         36,937    $             21,497




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                   JUAN MACIAS


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                      249,471                 247,481            247,481
                  2023                       83,778                  81,297            328,778
                  2024                       85,023                  80,706            409,484
                  2025                       87,294                  81,054            490,538
                  2026                       87,366                  79,350            569,888
                  2027                       89,329                  79,364            649,252
                  2028                      124,624                 108,307            757,559
                  2029                      153,706                 130,667            888,226
                  2030                      139,083                 115,657          1,003,883
                  2031                      137,146                 111,558          1,115,441
                  2032                      140,289                 111,626          1,227,066
                  2033                      143,866                 111,974          1,339,041
                  2034                      147,535                 112,325          1,451,366
                  2035                      151,299                 112,678          1,564,044
                  2036                      155,161                 113,033          1,677,078
                  2037                      159,122                 113,391          1,790,469
                  2038                      204,931                 142,849          1,933,317
                  2039                      216,319                 147,498          2,080,815
                  2040                      352,558                 235,149          2,315,964
                  2041                      245,440                 160,132          2,476,096
                  2042                      233,272                 148,873          2,624,969
                  2043                      239,216                 149,337          2,774,306
                  2044                      245,315                 149,804          2,924,110
                  2045                      251,571                 150,273          3,074,383
                  2046                      257,988                 150,745          3,225,128
                  2047                       30,444                  17,401          3,242,528
                           Total = $      4,411,145    $          3,242,528




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                MARGARET MCKENZIE


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                       19,202                  19,049            19,049
                  2023                       19,727                  19,143            38,191
                  2024                       20,235                  19,207            57,399
                  2025                       20,756                  19,272            76,671
                  2026                       21,290                  19,337            96,008
                  2027                       21,839                  19,403           115,410
                  2028                       22,402                  19,468           134,879
                  2029                       22,979                  19,535           154,414
                  2030                       23,572                  19,601           174,015
                  2031                       24,180                  19,668           193,683
                  2032                       24,803                  19,736           213,419
                  2033                       25,444                  19,803           233,222
                  2034                       26,101                  19,872           253,094
                  2035                       26,775                  19,940           273,034
                  2036                       27,466                  20,009           293,043
                  2037                       28,176                  20,079           313,122
                  2038                       28,905                  20,148           333,270
                  2039                       29,652                  20,219           353,488
                  2040                       30,420                  20,289           373,778
                  2041                       31,207                  20,360           394,138
                  2042                       32,015                  20,432           414,570
                  2043                       32,844                  20,504           435,074
                  2044                       33,695                  20,576           455,650
                  2045                       34,569                  20,649           476,300
                  2046                       35,465                  20,723           497,022
                  2047                       36,385                  20,797           517,819
                  2048                       37,330                  20,871           538,690
                  2049                       38,299                  20,945           559,635
                  2050                       38,903                  20,812           580,447
                           Total = $        814,635    $            580,447




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                                 ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                            R         W


                            Inflation-Adjusted       Present Value        Cumulative
                  Year             Costs         (Discounted at 2.23%)   Present Value
                  2022                 53,802                  53,373             53,373
                  2023                 32,449                  31,488             84,862
                  2024                106,293                 100,896            185,757
                  2025                 21,613                  20,068            205,825
                  2026                 15,498                  14,076            219,901
                  2027                 15,204                  13,508            233,409
                  2028                 15,266                  13,267            246,676
                  2029                 15,657                  13,310            259,987
                  2030                 38,344                  31,886            291,873
                  2031                  4,771                   3,881            295,754
                  2032                 10,578                   8,417            304,171
                  2033                  6,864                   5,343            309,513
                  2034                  9,864                   7,510            317,023
                  2035                  6,897                   5,136            322,159
                  2036                 10,967                   7,990            330,148
                  2037                 11,368                   8,101            338,249
                  2038                 11,737                   8,181            346,430
                  2039                228,000                 155,462            501,893
                  2040                 10,007                   6,674            508,567
                  2041                  5,688                   3,711            512,278
                  2042                 23,240                  14,832            527,110
                  2043                  6,229                   3,889            530,999
                  2044                  6,221                   3,799            534,798
                  2045                  6,418                   3,834            538,631
                  2046                  6,621                   3,869            542,500
                  2047                  6,832                   3,905            546,405
                  2048                  7,049                   3,941            550,346
                  2049                 13,067                   7,146            557,492
                  2050                 13,527                   7,237            564,729
                  2051                  7,813                   4,088            568,817
                  2052                 14,557                   7,452            576,269
                  2053                  8,323                   4,168            580,436
                  2054                  8,513                   4,170            584,606
                  2055                  8,787                   4,210            588,816
                  2056                  9,069                   4,250            593,066
                  2057                  9,361                   4,291            597,357
                  2058                  9,662                   4,333            601,690
                  2059                915,221                 401,467          1,003,157
                  2060                 25,352                  10,878          1,014,035




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                  R         W
                                                    (continued)

                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2061                       11,591                   4,865          1,018,900
                  2062                      422,271                 173,372          1,192,272
                  2063                       16,156                   6,488          1,198,761
                  2064                      367,616                 144,420          1,343,180
                  2065                       16,251                   6,245          1,349,425
                  2066                       12,470                   4,688          1,354,113
                  2067                       53,243                  19,577          1,373,690
                  2068                       55,254                  19,874          1,393,564
                  2069                       66,256                  23,311          1,416,876
                  2070                       68,160                  23,458          1,440,334
                  2071                       59,955                  20,184          1,460,518
                  2072                      675,924                 222,588          1,683,106
                  2073                      145,780                  46,959          1,730,066
                  2074                      131,734                  41,509          1,771,575
                  2075                      135,039                  41,622          1,813,197
                  2076                      138,560                  41,776          1,854,973
                  2077                      389,665                 114,922          1,969,896
                  2078                      403,471                 116,398          2,086,294
                  2079                    3,199,822                 902,988          2,989,282
                  2080                      461,744                 127,461          3,116,744
                  2081                      440,004                 118,811          3,235,554
                  2082                      465,022                 122,827          3,358,382
                  2083                      471,689                 121,870          3,480,252
                  2084                      469,131                 118,565          3,598,817
                  2085                      480,683                 118,835          3,717,652
                  2086                      492,938                 119,206          3,836,859
                  2087                      505,510                 119,580          3,956,439
                  2088                      518,406                 119,956          4,076,395
                  2089                        5,826                   1,319          4,077,713
                           Total = $     12,416,898    $          4,077,713




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                           LOST EARNING CAPACITY
                                R            W

      Worklife:
                                                Present
                            Projected            Value     Cumulative
                             Future          (Discounted    Present
       Year       Age        Wages             at 2.23%)     Value
       2017         5                0                0            0
       2018         6                0                0            0
       2019         7                0                0            0
       2020         8                0                0            0
       2021         9                0                0            0
                   Past Earning Capacity =            0

       2022        10                0                 0            0
       2023        11                0                 0            0
       2024        12                0                 0            0
       2025        13                0                 0            0
       2026        14                0                 0            0
       2027        15                0                 0            0
       2028        16                0                 0            0
       2029        17                0                 0            0
       2030        18                0                 0            0
       2031        19                0                 0            0
       2032        20                0                 0            0
       2033        21                0                 0            0
       2034        22                0                 0            0
       2035        23           21,619            16,051       16,051
       2036        24           47,472            34,476       50,527
       2037        25           51,919            36,884       87,411
       2038        26           56,582            39,319      126,730
       2039        27           61,459            41,777      168,507
       2040        28           66,180            44,005      212,513
       2041        29           71,011            46,187      258,699
       2042        30           76,016            48,364      307,063
       2043        31           81,186            50,527      357,590
       2044        32           86,509            52,665      410,255
       2045        33           91,971            54,769      465,024
       2046        34           97,563            56,831      521,855
       2047        35          103,265            58,841      580,696
       2048        36          109,066            60,791      641,487
       2049        37          114,950            62,673      704,160
       2050        38          120,904            64,481      768,641
       2051        39          126,909            66,207      834,847
       2052        40          132,953            67,847      902,695
       2053        41          139,019            69,395      972,090
       2054        42          145,093            70,847    1,042,937
       2055        43          151,158            72,199    1,115,136
       2056        44          157,200            73,447    1,188,583
       2057        45          163,203            74,588    1,263,171


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                        LOST EARNING CAPACITY
                             R          W
                                 (continued)

                                             Present
                         Projected            Value        Cumulative
                          Future          (Discounted       Present
       Year   Age         Wages             at 2.23%)        Value
       2058     46          169,153              75,621     1,338,792
       2059     47          175,034              76,543     1,415,336
       2060     48          180,833              77,354     1,492,690
       2061     49          186,535              78,053     1,570,743
       2062     50          192,122              78,637     1,649,380
       2063     51          197,584              79,108     1,728,488
       2064     52          201,706              78,997     1,807,486
       2065     53          205,583              78,760     1,886,245
       2066     54          209,204              78,398     1,964,643
       2067     55          212,558              77,917     2,042,561
       2068     56          215,635              77,321     2,119,882
       2069     57          218,424              76,613     2,196,495
       2070     58          220,918              75,798     2,272,292
       2071     59          223,106              74,878     2,347,171
       2072     60          224,979              73,860     2,421,030
       2073     61          226,532              72,747     2,493,778
       2074     62          227,754              71,544     2,565,322
       2075     63          228,638              70,256     2,635,578
       2076     64          229,180              68,886     2,704,463
       2077     65          230,636              67,811     2,772,275
       2078     66          230,507              66,295     2,838,570
       2079     67          110,238              31,013     2,869,583

     Retirement:
      2079       67          59,331              16,692     2,886,275
      2080       68         119,943              33,008     2,919,282
      2081       69         122,898              33,083     2,952,365
      2082       70         125,927              33,159     2,985,524
      2083       71         129,031              33,235     3,018,759
      2084       72         132,208              33,311     3,052,070
      2085       73         135,466              33,387     3,085,457
      2086       74         138,804              33,463     3,118,921
      2087       75         142,225              33,540     3,152,461
      2088       76         145,730              33,617     3,186,078
      2089       77          73,619              16,612     3,202,690
              Future Earning Capacity =        3,202,690

                Past Earning Capacity =                0
              Future Earning Capacity =        3,202,690
              Total Earning Capacity =         3,202,690
                    Loss Percentage =              65.0%
         Total Lost Earning Capacity =         2,081,749



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                                 ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                           HAILEY MCNULTY


                            Inflation-Adjusted       Present Value        Cumulative
                  Year             Costs         (Discounted at 2.23%)   Present Value
                  2022                  8,595                   8,526             8,526
                  2023                  5,399                   5,240            13,766
                  2024                  8,734                   8,290            22,056
                  2025                  4,304                   3,996            26,052
                  2026                  4,268                   3,876            29,928
                  2027                  3,892                   3,458            33,386
                  2028                  4,121                   3,582            36,968
                  2029                  4,247                   3,610            40,578
                  2030                  4,377                   3,639            44,218
                  2031                  4,362                   3,548            47,766
                  2032                  4,027                   3,204            50,970
                  2033                  4,164                   3,241            54,211
                  2034                  4,306                   3,279            57,490
                  2035                  4,454                   3,317            60,806
                  2036                  4,606                   3,355            64,162
                  2037                  4,764                   3,395            67,556
                  2038                  4,927                   3,434            70,991
                  2039                  5,096                   3,475            74,466
                  2040                  5,271                   3,516            77,982
                  2041                  5,453                   3,558            81,539
                  2042                  5,641                   3,600            85,139
                  2043                  5,835                   3,643            88,782
                  2044                  6,037                   3,686            92,468
                  2045                  6,245                   3,730            96,199
                  2046                  6,461                   3,775            99,974
                  2047                  6,685                   3,821           103,795
                  2048                  6,917                   3,867           107,662
                  2049                  7,157                   3,914           111,576
                  2050                  7,405                   3,962           115,537
                  2051                  6,395                   3,346           118,884
                  2052                  2,468                   1,263           120,147
                  2053                  2,534                   1,269           121,416
                  2054                  2,602                   1,275           122,691
                  2055                  2,672                   1,280           123,971
                  2056                  2,743                   1,286           125,257
                  2057                  2,817                   1,291           126,548
                  2058                  2,893                   1,297           127,845
                  2059                  2,970                   1,303           129,148
                  2060                  3,050                   1,309           130,457




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                 HAILEY MCNULTY
                                                    (continued)

                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2061                        3,132                   1,315           131,772
                  2062                        3,216                   1,321           133,092
                  2063                        3,303                   1,326           134,419
                  2064                        3,392                   1,332           135,751
                  2065                        3,483                   1,339           137,090
                  2066                        3,577                   1,345           138,434
                  2067                        3,674                   1,351           139,785
                  2068                        3,773                   1,357           141,142
                  2069                        3,875                   1,363           142,505
                  2070                        3,979                   1,370           143,875
                  2071                        4,087                   1,376           145,251
                  2072                        4,198                   1,382           146,633
                  2073                        4,311                   1,389           148,022
                  2074                        4,428                   1,395           149,417
                  2075                        4,548                   1,402           150,819
                  2076                        4,671                   1,408           152,228
                  2077                        4,798                   1,415           153,643
                  2078                        4,928                   1,422           155,065
                  2079                        5,062                   1,429           156,493
                  2080                        5,200                   1,435           157,929
                  2081                        5,341                   1,442           159,371
                  2082                        5,487                   1,449           160,820
                  2083                        5,636                   1,456           162,276
                  2084                        4,410                   1,114           163,391
                           Total = $        291,404    $            163,391




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                                 ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                            J     M


                            Inflation-Adjusted       Present Value        Cumulative
                  Year             Costs         (Discounted at 2.23%)   Present Value
                  2022                  6,548                   6,495             6,495
                  2023                  6,857                   6,654            13,149
                  2024                  7,056                   6,698            19,847
                  2025                  7,262                   6,743            26,590
                  2026                 32,081                  29,138            55,727
                  2027                 56,139                  49,876           105,604
                  2028                  3,943                   3,426           109,030
                  2029                  4,073                   3,462           112,492
                  2030                  4,207                   3,498           115,990
                  2031                  4,346                   3,535           119,526
                  2032                  4,490                   3,573           123,098
                  2033                  4,639                   3,610           126,709
                  2034                  4,793                   3,649           130,357
                  2035                  4,952                   3,688           134,045
                  2036                  4,879                   3,555           137,600
                  2037                  4,577                   3,262           140,862
                  2038                  4,736                   3,301           144,163
                  2039                  4,901                   3,341           147,504
                  2040                  5,071                   3,382           150,887
                  2041                  3,984                   2,600           153,486
                  2042                  1,631                   1,041           154,527
                  2043                  1,674                   1,045           155,572
                  2044                  1,719                   1,050           156,622
                  2045                  1,765                   1,054           157,676
                  2046                  1,812                   1,059           158,735
                  2047                  1,861                   1,064           159,799
                  2048                  1,911                   1,068           160,867
                  2049                  1,962                   1,073           161,940
                  2050                  2,015                   1,078           163,018
                  2051                  2,069                   1,083           164,101
                  2052                  2,124                   1,087           165,188
                  2053                  2,181                   1,092           166,280
                  2054                  2,240                   1,097           167,377
                  2055                  2,300                   1,102           168,479
                  2056                  2,362                   1,107           169,586
                  2057                  2,425                   1,112           170,698
                  2058                  2,491                   1,117           171,815
                  2059                  2,558                   1,122           172,937
                  2060                  2,627                   1,127           174,064




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                  J     M
                                                    (continued)

                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2061                        2,697                   1,132           175,196
                  2062                        2,770                   1,137           176,333
                  2063                        2,845                   1,143           177,476
                  2064                        2,922                   1,148           178,624
                  2065                        3,001                   1,153           179,777
                  2066                        3,082                   1,158           180,935
                  2067                        3,165                   1,164           182,099
                  2068                        3,250                   1,169           183,268
                  2069                        3,338                   1,175           184,443
                  2070                        3,429                   1,180           185,623
                  2071                        3,522                   1,186           186,808
                  2072                        3,617                   1,191           187,999
                  2073                        3,715                   1,197           189,196
                  2074                        3,816                   1,202           190,398
                  2075                        3,919                   1,208           191,606
                  2076                        4,026                   1,214           192,820
                  2077                        4,135                   1,219           194,040
                  2078                        4,247                   1,225           195,265
                  2079                        4,363                   1,231           196,496
                  2080                        4,481                   1,237           197,733
                  2081                        4,603                   1,243           198,976
                  2082                        3,096                     818           199,794
                           Total = $        297,296    $            199,794




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                 BRENDA MOULTON


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                       56,258                  55,810             55,810
                  2023                       54,843                  53,219            109,028
                  2024                       56,119                  53,269            162,298
                  2025                       57,612                  53,494            215,791
                  2026                       55,792                  50,674            266,465
                  2027                       57,178                  50,800            317,264
                  2028                       58,776                  51,080            368,344
                  2029                       60,423                  51,366            419,710
                  2030                       62,121                  51,658            471,368
                  2031                       63,873                  51,956            523,324
                  2032                       65,679                  52,259            575,583
                  2033                       67,542                  52,570            628,153
                  2034                       69,464                  52,886            681,039
                  2035                       71,448                  53,210            734,249
                  2036                       72,457                  52,784            787,033
                  2037                       74,477                  53,073            840,106
                  2038                       76,615                  53,405            893,511
                  2039                       78,822                  53,745            947,256
                  2040                       81,101                  54,093          1,001,349
                  2041                       83,445                  54,442          1,055,791
                  2042                       85,876                  54,806          1,110,597
                  2043                       88,388                  55,178          1,165,775
                  2044                       90,983                  55,560          1,221,335
                  2045                       93,666                  55,950          1,277,285
                  2046                       96,439                  56,350          1,333,635
                  2047                       99,306                  56,759          1,390,394
                  2048                        4,763                   2,663          1,393,057
                           Total = $      1,883,465    $          1,393,057




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                                 ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                           ZACHARY POSTON


                            Inflation-Adjusted       Present Value        Cumulative
                  Year             Costs         (Discounted at 2.23%)   Present Value
                  2022                 53,336                  52,911             52,911
                  2023                 16,160                  15,681             68,592
                  2024                 16,402                  15,569             84,161
                  2025                 16,618                  15,430             99,591
                  2026                 16,799                  15,257            114,848
                  2027                 16,982                  15,088            129,936
                  2028                 17,445                  15,161            145,097
                  2029                 17,921                  15,235            160,332
                  2030                 18,411                  15,310            175,643
                  2031                 17,168                  13,965            189,608
                  2032                 15,838                  12,602            202,210
                  2033                 16,237                  12,638            214,847
                  2034                 16,646                  12,673            227,521
                  2035                 17,066                  12,710            240,230
                  2036                 17,497                  12,746            252,977
                  2037                 17,939                  12,783            265,760
                  2038                 18,393                  12,821            278,581
                  2039                 83,193                  56,726            335,307
                  2040                110,899                  73,967            409,274
                  2041                 71,283                  46,507            455,781
                  2042                 73,079                  46,639            502,419
                  2043                 74,920                  46,771            549,190
                  2044                 76,808                  46,904            596,094
                  2045                 78,744                  47,037            643,131
                  2046                 80,730                  47,171            690,302
                  2047                 82,766                  47,306            737,608
                  2048                 84,854                  47,442            785,049
                  2049                 86,996                  47,578            832,627
                  2050                 89,192                  47,715            880,342
                  2051                 91,444                  47,852            928,194
                  2052                 93,753                  47,991            976,185
                  2053                 96,122                  48,130          1,024,315
                  2054                 98,551                  48,270          1,072,585
                  2055                101,042                  48,410          1,120,995
                  2056                103,596                  48,551          1,169,546
                  2057                106,216                  48,693          1,218,240
                  2058                108,903                  48,836          1,267,076
                  2059                151,755                  66,568          1,333,644
                  2060                196,917                  84,494          1,418,138




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                 ZACHARY POSTON
                                                    (continued)

                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2061                      201,885                  84,737          1,502,875
                  2062                      206,980                  84,980          1,587,855
                  2063                      212,204                  85,224          1,673,079
                  2064                      217,561                  85,470          1,758,549
                  2065                      223,053                  85,716          1,844,265
                  2066                      228,686                  85,964          1,930,228
                  2067                      234,461                  86,212          2,016,440
                  2068                      240,384                  86,462          2,102,902
                  2069                      246,457                  86,712          2,189,614
                  2070                      252,684                  86,964          2,276,578
                  2071                      259,070                  87,217          2,363,795
                  2072                      265,618                  87,471          2,451,266
                  2073                      272,333                  87,726          2,538,991
                  2074                      279,219                  87,982          2,626,973
                  2075                      286,280                  88,239          2,715,212
                  2076                      146,358                  44,127          2,759,340
                           Total = $      6,241,853    $          2,759,340




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                           LOST EARNING CAPACITY
                              ZACHARY POSTON

      Worklife:
                                                Present
                            Projected            Value     Cumulative
                             Future          (Discounted    Present
       Year       Age        Wages             at 2.23%)     Value
       2017        18                0                0            0
       2018        19                0                0            0
       2019        20                0                0            0
       2020        21                0                0            0
       2021        22                0                0            0
                   Past Earning Capacity =            0

       2022        23           31,565            31,217       31,217
       2023        24           34,656            33,526       64,743
       2024        25           37,903            35,867      100,610
       2025        26           41,307            38,236      138,846
       2026        27           44,867            40,626      179,472
       2027        28           48,314            42,792      222,264
       2028        29           51,840            44,914      267,178
       2029        30           55,494            47,031      314,209
       2030        31           59,269            49,134      363,344
       2031        32           63,155            51,214      414,557
       2032        33           67,142            53,260      467,817
       2033        34           71,225            55,265      523,082
       2034        35           75,387            57,219      580,301
       2035        36           79,622            59,115      639,417
       2036        37           83,918            60,946      700,362
       2037        38           88,264            62,704      763,066
       2038        39           92,648            64,382      827,448
       2039        40           97,061            65,978      893,426
       2040        41          101,489            67,483      960,909
       2041        42          105,923            68,895    1,029,803
       2042        43          110,351            70,209    1,100,012
       2043        44          114,761            71,422    1,171,435
       2044        45          119,144            72,533    1,243,968
       2045        46          123,488            73,537    1,317,505
       2046        47          127,781            74,434    1,391,939
       2047        48          132,015            75,223    1,467,161
       2048        49          136,177            75,902    1,543,063
       2049        50          140,256            76,470    1,619,533
       2050        51          144,243            76,928    1,696,461
       2051        52          147,252            76,820    1,773,281
       2052        53          150,083            76,589    1,849,870
       2053        54          152,726            76,238    1,926,108
       2054        55          155,175            75,770    2,001,878
       2055        56          157,421            75,190    2,077,068
       2056        57          159,458            74,502    2,151,570




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                        LOST EARNING CAPACITY
                           ZACHARY POSTON
                              (continued)

                                             Present
                         Projected            Value       Cumulative
                          Future          (Discounted      Present
       Year   Age         Wages             at 2.23%)       Value
       2057    58           161,278              73,709    2,225,278
       2058    59           162,876              72,815    2,298,093
       2059    60           164,242              71,824    2,369,917
       2060    61           165,377              70,743    2,440,660
       2061    62           166,268              69,573    2,510,232
       2062    63           166,914              68,319    2,578,552
       2063    64           167,310              66,987    2,645,539
       2064    65           168,373              65,942    2,711,482
       2065    66           168,278              64,468    2,775,949
       2066    67            82,449              30,897    2,806,847

     Retirement:
      2066       67          44,375             16,629     2,823,476
      2067       68          89,708             32,884     2,856,361
      2068       69          91,918             32,959     2,889,320
      2069       70          94,184             33,035     2,922,355
      2070       71          96,505             33,111     2,955,466
      2071       72          98,882             33,186     2,988,653
      2072       73         101,318             33,262     3,021,915
      2073       74         103,814             33,338     3,055,254
      2074       75         106,374             33,415     3,088,669
      2075       76         108,995             33,492     3,122,160
      2076       77          55,061             16,550     3,138,710
              Future Earning Capacity =     3,138,710

                Past Earning Capacity =             0
              Future Earning Capacity =     3,138,710
              Total Earning Capacity =      3,138,710
                    Loss Percentage =           65.0%
         Total Lost Earning Capacity =      2,040,162




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                 JOAQUIN RAMIREZ


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                        7,115                   7,058             7,058
                  2023                        4,820                   4,677            11,735
                  2024                        4,970                   4,717            16,453
                  2025                        5,125                   4,758            21,211
                  2026                        5,056                   4,592            25,803
                  2027                        4,845                   4,304            30,107
                  2028                        5,010                   4,354            34,461
                  2029                        5,181                   4,404            38,866
                  2030                        5,358                   4,456            43,321
                  2031                        5,424                   4,412            47,734
                  2032                        5,414                   4,308            52,041
                  2033                        5,601                   4,359            56,401
                  2034                        5,795                   4,412            60,812
                  2035                        5,995                   4,465            65,277
                  2036                        4,663                   3,397            68,674
                  2037                        2,188                   1,559            70,233
                  2038                        2,248                   1,567            71,800
                  2039                        2,309                   1,575            73,375
                  2040                        2,373                   1,583            74,957
                  2041                        2,438                   1,591            76,548
                  2042                        2,505                   1,599            78,147
                  2043                        2,574                   1,607            79,753
                  2044                        2,645                   1,615            81,368
                  2045                        2,717                   1,623            82,992
                  2046                        2,792                   1,632            84,623
                  2047                        2,869                   1,640            86,263
                  2048                        2,948                   1,648            87,912
                  2049                        1,876                   1,026            88,938
                           Total = $        112,853    $             88,938




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                  ROSANNE SOLIS


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                       24,550                  24,354            24,354
                  2023                        9,211                   8,939            33,293
                  2024                        9,478                   8,996            42,289
                  2025                       31,366                  29,123            71,412
                  2026                       45,504                  41,329           112,742
                  2027                       46,686                  41,478           154,220
                  2028                       47,899                  41,627           195,847
                  2029                       49,143                  41,777           237,624
                  2030                       50,421                  41,928           279,552
                  2031                       51,733                  42,081           321,633
                  2032                       53,079                  42,234           363,867
                  2033                       54,460                  42,388           406,255
                  2034                       55,879                  42,543           448,797
                  2035                       57,334                  42,699           491,497
                  2036                       58,829                  42,856           534,353
                  2037                       60,363                  43,015           577,367
                  2038                       61,937                  43,174           620,541
                  2039                       63,554                  43,334           663,875
                  2040                       65,213                  43,496           707,371
                  2041                       66,916                  43,658           751,029
                  2042                       68,665                  43,822           794,851
                  2043                       70,460                  43,986           838,837
                  2044                       72,303                  44,152           882,989
                  2045                       74,194                  44,319           927,308
                  2046                       76,137                  44,487           971,796
                  2047                       29,112                  16,639           988,435
                           Total = $      1,354,423    $            988,435




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                                       ANNUAL TOTALS OF LIFE CARE PLAN COSTS
                                                MARGARETTE VIDAL


                                  Inflation-Adjusted       Present Value        Cumulative
                  Year                   Costs         (Discounted at 2.23%)   Present Value
                  2022                       43,961                  43,611            43,611
                  2023                       61,284                  59,469           103,080
                  2024                       77,893                  73,937           177,017
                  2025                       79,900                  74,188           251,205
                  2026                       81,834                  74,327           325,532
                  2027                       83,818                  74,468           399,999
                  2028                       85,980                  74,722           474,722
                  2029                       87,764                  74,609           549,331
                           Total = $        602,434    $            549,331




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